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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA
                                                           DECISION AND ORDER
                                                                12-CR-83S
             v.


DANIEL RODRIGUEZ,

                                 Defendant.


I.     INTRODUCTION

       Pending before the Court is a motion (Dkt. No. 50) by defendant Daniel

Rodriguez for pretrial release on reasonable conditions. Defendant waived his

right to an immediate detention hearing when he appeared before the Court on

March 22, 2012, but reserved his right to revisit the issue of bail. Defendant now

invokes that right and argues that his lack of a passport and his extensive local

family ties mean that he is not a risk of flight. As for the Court’s previously

unopposed finding of danger to the community, defendant urges the Court to

reconsider given that he “is not charged with the murder of Jabril Harper.” (Dkt.

No. 50 at 4.) The Government opposes release because the charges against

defendant cover everything else that happened to Jabril Harper (“Harper”) on

December 16, 2009, when Harper was found dead just hours after an alleged

kidnapping and armed robbery. The Government notes further that defendant

has a prior criminal history that includes prior probation and parole violations.
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The United States Probation Office (“USPO”) recommends continued detention,

citing, inter alia, concerns that defendant should not live with his wife Natasha

(nee Jemison) because she is under federal supervision in this District following a

bank fraud conviction (Case No. 11-CR-337S).

        The Court held a bail review hearing on March 11, 2013. For the reasons

below, the Court denies defendant’s motion.

II.     BACKGROUND

        This case concerns allegations that defendant and co-defendants Ernest

Green (“Green”) and Rodshaun Black (“Black”) conspired to commit Hobbs Act

extortion against Harper. In the one-count Indictment, filed March 6, 2012, the

Government alleges that defendant “did knowingly, willfully and unlawfully

combine, conspire and agree together and with others, known and unknown to

the Grand Jury, to obstruct, delay and affect commerce, as that term is defined in

Title 18, United States Code, Section 1951(b)(3), and the movement of articles

and commodities in commerce, by robbery as that term is defined in Title 18,

United States Code, Section 1951(b)(1), and extortion, as that term is defined in

Title 18, United States Code, Section 1951(b)(2), in particular, the robbery and

extortion of assets, including jewelry, mobile telephones, cocaine base, and

money, from Jabril Harper a/k/a Bril, an individual engaged in the unlawful

possession and distribution of controlled substances, including cocaine base. All

in violation of Title 18, United States Code, Section 1951(a).” (Dkt. No. 1.) In a

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pre-indictment complaint filed against Green (Case No. 12-MJ-2037, Dkt. No. 1),

the Government provided details from its investigation and from confidential

informants that the conspiracy in question culminated in the kidnapping, armed

robbery, and murder of Harper on December 16, 2009. The Government has

disclosed that defendant was accomplice “A-2” in the pre-indictment complaint

against Green.

      Defendant did not seek an immediate detention hearing when this case

began. Defendant was arraigned March 7, 2012. The Court scheduled a

detention hearing for March 22, 2012, but at that proceeding, defendant made a

knowing and voluntary waiver of his right to an immediate detention hearing.

After considering the statutory presumption in favor of detention along with the

pretrial services report showing a significant criminal history and a history of

evading supervision, the Court ordered defendant detained as both a flight risk

and a danger to the community.

      On February 20, 2013, defendant filed the pending motion for release. In

support of his motion, defendant emphasizes his local ties. Defendant has lived

continuously in the Buffalo area since age 9. Defendant’s wife and child from his

wife, along with two children from a prior relationship, all lived together prior to his

arrest. Defendant lacks a passport and never has traveled outside the United

States. Defendant concedes that he personally lacks resources to post bail but

believes that his family could help. As for his criminal history, defendant

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emphasizes that the current Indictment1 does not charge him with Harper’s

murder. Under these circumstances, defendant concludes, the Court should be

able to craft some set of release conditions—he is vague as to specifics but does

agree to include house arrest or home confinement in the conditions—that would

ensure his continued appearance and that would protect the safety of the

community.

      The Government cites defendant’s charges and criminal history in

opposing the pending motion. The current Indictment in this case officially does

not charge anyone with murder, but the pre-indictment complaint against Green

specifies that the Hobbs Act conspiracy that has been charged concluded with

the murder of Harper after a kidnapping and armed robbery. The Government

additionally highlights that defendant has three convictions in his criminal history,

all three of which entailed probation or parole violations and the latter two of

which involved allegations of forcible theft with a deadly weapon. Because of this

criminal history, according to the Government, defendant upon conviction here

would be sentenced as a Career Offender and would face an advisory sentencing

range of 210–240 months.




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        The Government has commented in court since this case began that
defendant is eligible for death-penalty prosecution, subject to approval from the
Department of Justice. For purposes of the pending bail motion, the Court will
ignore the Government’s comments and admonishes the Government to resolve
that issue, one way or the other, as quickly as possible.

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III.     DISCUSSION

         “The Eighth Amendment to the Constitution states that ‘[e]xcessive bail

shall not be required.’ U.S. Const. amend. VIII. Consistent with this prohibition,

18 U.S.C. § 3142(b) requires a court to order the pre-trial release of a defendant

on a personal recognizance bond ‘unless the [court] determines that such release

will not reasonably assure the appearance of the person as required or will

endanger the safety of any other person or the community.’” U.S. v. Sabhnani,

493 F.3d 63, 75 (2d Cir. 2007). Statutory factors to be considered when

assessing flight or danger include the nature and circumstances of the offense

charged, the weight of the evidence against the person, the history and

characteristics of the person, and the nature and seriousness of the danger to

any person or the community that would be posed by the person’s release. See

18 U.S.C. § 3142(g).

         With respect to flight risk, “the government carries a dual burden in seeking

pre-trial detention. First, it must establish by a preponderance of the evidence

that the defendant, if released, presents an actual risk of flight. Assuming it

satisfies this burden, the government must then demonstrate by a preponderance

of the evidence that no condition or combination of conditions could be imposed

on the defendant that would reasonably assure his presence in court.” Sabhnani,

493 F.3d at 75 (citations omitted). “To order detention, the district court must

find, after a hearing, that the government has established the defendant’s

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dangerousness by clear and convincing evidence. The rules of evidence do not

apply in a detention hearing. Further, the government may proceed by proffer.”

U.S. v. Ferranti, 66 F.3d 540, 542 (2d Cir. 1995) (citations omitted).

      Here, several factors weigh in favor of continued detention. Defendant

faces serious conspiracy charges with evidence from informants and other

sources that the conspiracy successfully ran its course and led to a premeditated

kidnapping, robbery, and murder. The charges are serious in themselves but

also trigger the rebuttable presumption in favor of detention set forth in 18 U.S.C.

§ 3142(e). The weight of the evidence against defendant, while not affecting the

presumption of innocence, causes the Court some concern. Defendant focuses

on the formal charges in his bail motion but makes no effort to raise doubts about

the evidence supporting those charges. Cf. U.S. v. Jackson, 823 F.2d 4, 7 (2d

Cir. 1987) (“As to the weight of the evidence, the government apparently has

numerous informants as well as physical evidence to support its charges.

Indeed, [defendant] has made no significant attack on the government’s proffered

evidence.”). Defendant also has a violent criminal history and has violated

probation or parole every previous time he faced prosecution. Cf. U.S. v. Barnett,

No. 5:03-CR-243, 2003 WL 22143710, at *12 (N.D.N.Y. Sept. 17, 2003) (“Every

sentence of probation or parole requires a defendant to meet judicially imposed

conditions, and violations of either are further evidence of a defendant’s inability

to comply with judicial mandates and supervision. Evidence of new criminal

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behavior while other charges are pending inevitably leads to the conclusion that a

defendant places his own self-interests above that of the community. In turn, the

community has a right to expect courts to protect it.”). This record suggests that

conditions of release may not stop defendant from returning to criminal activity.

Cf. U.S. v. English, 629 F.3d 311, 322 (2d Cir. 2011) (affirming a detention order

where “the proposal for electronic monitoring did not eliminate the danger that

[defendant] would ‘engage in further sale of narcotics’ by telephone with a willing

collaborator”). Finally, defendant has not proposed a suitable residence. Cf. U.S.

v. Mansuryan, No. 10-10060-03-EFM, 2010 WL 2545989, at *2–3 (D. Kan. June

22, 2010) (“Further militating against release is the fact that Defendant has failed

to identify a suitable place for him to reside while out on release.”). To the extent

that he is contemplating returning to his wife, defendant has failed to address the

protection order that his wife obtained against him between February 5, 2011 and

April 13, 2012. Cf. U.S. v. Wero, No. CR 09–8056–PCT–DGC, 2009 WL

1797853, at *2 (D. Ariz. June 24, 2009) (denying bail in part because

“[d]ocuments provided by the government show that Defendant’s wife has

obtained an order of protection against him and that he has assaulted her in the

past”).

      Under these circumstances, the Court finds by a preponderance of the

evidence that defendant would pose a risk of non-appearance if released.

Additionally, the Court finds by clear and convincing evidence that defendant



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would pose a danger to the community if released under any conditions.

Defendant thus will remain in custody.

IV.     CONCLUSION

        For all of the foregoing reasons, the Court denies defendant’s motion for

bail (Dkt. No. 50). Defendant shall remain in custody pending trial.

        Defendant shall remain committed to the custody of the Attorney General

for confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal.

        Despite the Court’s order of detention, defendant shall be afforded

reasonable opportunity for private consultation with counsel. Additionally, on

order of the Court or on request of an attorney for the Government, the person in

charge of the corrections facility in which defendant is confined shall deliver

defendant to a United States Marshal for the purpose of an appearance in

connection with a court proceeding in this case.

        In accordance with 18 U.S.C. § 3142(j), nothing in this Decision and Order

shall be construed as modifying or limiting the presumption of innocence.

        SO ORDERED.
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                                       HONORABLE HUGH B. SCOTT
                                       UNITED STATES MAGISTRATE JUDGE
DATED: April 2, 2013




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